USCA4 Appeal: 23-1078     Doc: 191         Filed: 07/16/2024    Pg: 1 of 1

                          Supreme Court of the United States
                                 Office of the Clerk
                             Washington, DC 20543-0001
                                                                             Scott S. Harris
                                                                             Clerk of the Court
                                                                             (202) 479-3011
                                             July 16, 2024


        Clerk
        United States Court of Appeals for the Fourth
        Circuit
        1100 East Main Street
        Room 501
        Richmond, VA 23219


              Re: West Virginia, et al.
                  v. B. P. J., By Her Next Friend and Mother, Heather Jackson
                  No. 24-43
                  (Your No. 23-1078, 23-1130)


        Dear Clerk:

              The petition for a writ of certiorari in the above entitled case was filed on July
        11, 2024 and placed on the docket July 16, 2024 as No. 24-43.




                                                Sincerely,

                                                Scott S. Harris, Clerk

                                                by

                                                Rashonda Garner
                                                Case Analyst
